          Case 3:19-cv-05711-EMC Document 45 Filed 06/18/20 Page 1 of 7




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                                 UNITED STATES DISTRICT COURT
 8                            NORTHERN DISTRICT OF CALIFORNIA
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                                                          Case No. 3:19-cv-05711-EMC
11   ABANTE ROOTER AND PLUMBING,
     INC., individually and on behalf of all others       JOINT CASE MANAGEMENT
12   similarly situated,                                  STATEMENT

13                          Plaintiff,

14   v.

15   TOTAL MERCHANT SERVICES, LLC, a
     Delaware limited liability company,
16
                            Defendant.
17
18
            Plaintiff Abante Rooter and Plumbing, Inc. (“Plaintiff” or “Abante”) and Defendant Total
19
     Merchant Services, LLC (“Defendant” or “TMS”) (collectively Plaintiff and Defendant are
20
     referred to as the “Parties”) submit this Joint Case Management Statement in accordance with the
21
     Court’s March 25, 2020 Order (dkt. 38).
22
     1.     Discovery Status
23
            Plaintiff’s Statement: On December 23, 2019, Plaintiff served its First Set of Discovery
24
     Requests on Defendant—including Interrogatories and Requests for Production. On February 5,
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     2020, TMS served its responses to Plaintiff’s First Set of Discovery Requests. On February 20,
26
     2020, Plaintiff served a discovery dispute letter, which addressed deficiencies in TMS’s
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          Case 3:19-cv-05711-EMC Document 45 Filed 06/18/20 Page 2 of 7




 1   responses. The Parties then conferred regarding TMS’s responses and TMS agreed to supplement
 2   its responses. On March 30, 2020, TMS provided its supplemental responses to discovery. At this
 3   time, TMS withheld all responsive documents citing the need for protective order. On April 3,
 4   2020, the Court issued an Order granting the Parties’ Stipulated Protective Order. (Dkt. 42.) TMS
 5   produced documents on June 18, 2020.
 6          Also on December 23, 2019, TMS served its First Set of Discovery Responses on
 7   Plaintiff—including Interrogatories and Requests for Production. Plaintiff served its responses to
 8   TMS’s discovery on February 5, 2020. Thereafter, the Parties conferred and Plaintiff agreement
 9   to supplement its responses. On April 23, 2020, Plaintiff provided its supplemental responses to
10   TMS’s discovery requests.
11          On May 19, 2020, Plaintiff served its Second Set of Discovery Requests—including
12   additional Interrogatories and Requests for Production. TMS’s responses are not due until June
13   19, 2020. Shortly thereafter, on May 29, 2020, the Parties’ conferred regarding TMS’s
14   supplemental responses to Plaintiff’s First Set of Discovery Requests. Currently, the Parties are at
15   issue with respect to the sufficiency of TMS’s responses. Plaintiff expects to file a Joint Letter
16   regarding the discovery dispute within a matter of days.
17          During this time, Plaintiff has worked to effectuate subpoenas directed to Triumph
18   Merchant Solutions, LLC (“Triumph”). Plaintiff has identified Triumph as one of the entities
19   which placed calls at issue in this case (Plaintiff alleges these calls were placed on TMS’s behalf
20   and for TMS’s benefit). TMS has asserted that any calls related to Triumph would have been
21   placed by Triumph and not by TMS itself, and therefore all of the relevant call records regarding
22   calls placed by Triumph are within Triumph’s possession. On February 4, 2020, Plaintiff issued a
23   Subpoena to Testify at a Deposition in a Civil Action and a Subpoena to Produce Documents,
24   Information, or Objects or to Permit Inspection of Premises in a Civil Action (“Triumph
25   Subpoenas”). The Triumph Subpoenas were served on Triumph on February 13, 2020. Triumph
26   has refused to respond to the subpoenas in any fashion. Triumph also ignored Plaintiff’s counsel’s
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           Case 3:19-cv-05711-EMC Document 45 Filed 06/18/20 Page 3 of 7




 1   repeated attempts to communicate regarding the subpoenas. As a result of Triumph’s failure to
 2   respond, Plaintiff filed a subpoena enforcement action in the Southern District of California. (See
 3   Abante Rooter and Plumbing, Inc. v. Triumph Merchant Solutions, LLC, Case No. 3:20-cv-
 4   00754-JAH-BLM (S.D. Cal. filed April 21, 2020)) Currently, Triumph has ignored the
 5   enforcement action as well, and Plaintiff is awaiting an Order from the court. (See id.)
 6
 7           Defendant’s Statement: On December 23, 2019, TMS served its First Set of
 8   Interrogatories and First Set of Requests for Production (collectively, the “First Set of
 9   Discovery”) on Plaintiff. Upon agreement of the parties, Plaintiff served its response to the First
10   Set of Discovery on February 5, 2020—one (1) day after Plaintiff issued subpoenas to an entity
11   referred to as Triumph Merchant Solutions, LLC. Plaintiff’s response to the First Set of Requests
12   for Production contained purported emails between Plaintiff and Triumph, who is not a party to
13   this case, in relation to the alleged telemarketing activity of Triumph at issue in this litigation. See
14   Abante000418 through Abante000454. Notwithstanding the production of certain documents,
15   Plaintiff’s response to the First Set of Discovery was deficient in multiple respects. As such, the
16   parties engaged in a discovery conference to address the Plaintiff’s deficient responses in lieu of
17   Court intervention, which discovery conference resulted in Plaintiff serving supplemental
18   discovery responses on TMS. Plaintiff’s supplemental discovery responses further identified
19   Triumph as the party that Plaintiff believes placed the alleged calls at issue. For reasons unknown
20   to TMS, Plaintiff chose not to include Triumph as a named party in this litigation despite Plaintiff
21   being fully aware of the existence, identity, and alleged conduct of Triumph concerning the
22   claims asserted in this litigation.
23           On December 23, 2019, Plaintiff served its First Set of Interrogatories and First Set of
24   Requests for Production (collectively, “Plaintiff’s First Set of Discovery”) on TMS. Plaintiffs’
25   First Set of Interrogatories were replete with objectionable content. Upon agreement of the
26   parties, TMS served its response to Plaintiff’s First Set of Discovery on February 5, 2020.
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          Case 3:19-cv-05711-EMC Document 45 Filed 06/18/20 Page 4 of 7




 1   Because Plaintiff neither alleged its telephone numbers that received the alleged calls at issue nor
 2   produced documents in response to TMS’ First Set of Requests for Production at the time TMS
 3   served its responses to Plaintiff’s First Set of Discovery, TMS lacked knowledge and information
 4   sufficient to substantively respond to the objectionable Plaintiff’s First Set of Discovery. Plaintiff
 5   served TMS with a written correspondence to address Plaintiff’s beliefs and concerns regarding
 6   the TMS response on February 20, 2020. Of importance, Plaintiff’s correspondence further
 7   identified Triumph Merchant Solutions as one of two alleged agents responsible for the calls at
 8   issue (the other alleged agent being Quality Merchant Services, Inc. with whom TMS does not
 9   maintain a relationship) and Plaintiff acknowledged “Plaintiff has produced documents
10   demonstrating that Triumph Merchant Solutions placed calls to Plaintiff on behalf of TMS.” As a
11   result of the discovery conference between the parties concerning Plaintiffs’ First Set of
12   Discovery and the documents produced by Plaintiff in response to TMS’ First Set of Discovery,
13   TMS served its supplemental responses to Plaintiff’s First Set of Discovery on Plaintiff. TMS has
14   produced the documents in its possession concerning Triumph as TMS_000001 through
15   TMS_000050.
16          On May 19, 2020, Plaintiff served its Second Set of Interrogatories and Second Set of
17   Requests for Production (collectively, “Plaintiff’s Second Set of Discovery”) on TMS. This Joint
18   Case Management Statement is being filed prior to the time in which TMS is to respond to
19   Plaintiff’s Second Set of Discovery.
20
21   2.     Settlement Efforts
22          The Parties are discussing a mediation session overseen by Peter J. Grilli P.A to occur
23   remotely due to the ongoing pandemic on July 22, 2020 or July 23, 2020.
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25   3.     Proposed Modifications To Current Schedule
26          Plaintiff’s Position: Plaintiff requests a brief 90-day extension of all remaining deadlines.
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           Case 3:19-cv-05711-EMC Document 45 Filed 06/18/20 Page 5 of 7




 1   The Parties are currently engaged in a discovery dispute regarding Defendant’s responses to
 2   Plaintiff’s first set of discovery requests. A joint letter regarding the dispute will be filed in a
 3   matter of days. Further, Plaintiff also filed a subpoena enforcement action pending against in
 4   Triumph. Triumph has continued to completely ignore Plaintiff’s subpoenas as well as the
 5   enforcement action. As a result of pending disputes, Plaintiff believes that a 90-day extension is
 6   warranted to permit the Parties additional time to resolve the disputes prior to scheduling
 7   depositions and proceeding to class certification.
 8
 9           Defendant’s Position: Defendant takes no position on a 90-day extension of all remaining
10   deadlines.
11
12   Dated: June 18, 2020                 /s/ Patrick H. Peluso
                                          Counsel for Plaintiff
13
                                          Richard T. Drury (SBN: 163559)
14                                        Lozeau Drury LLP
15                                        410 12th Street, Suite 250
                                          Oakland, CA 94607
16                                        Tel: 510-836-4200
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17
                                          Steven L. Woodrow (pro hac vice)
18                                        Patrick H. Peluso (pro hac vice)
19                                        Taylor T. Smith (pro hac vice)
                                          Woodrow & Peluso, LLC
20                                        3900 East Mexico Ave., Suite 300
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21                                        Tel: 720-213-0675
                                          swoodrow@woodrwopeluso.com
22                                        ppeluso@woodrowpeluso.com
23                                        tsmith@woodrowpeluso.com

24
25   Dated: June 18, 2020                 /s/ Lawren A. Zann
26                                        Counsel for Defendant
                                          Beth-Ann E. Krimsky (pro hac vice admission)
27                                        Lawren A. Zann (pro hac vice admission)

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          Case 3:19-cv-05711-EMC Document 45 Filed 06/18/20 Page 6 of 7




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                                       beth-ann.krimsky@gmlaw.com
 4                                     lawren.zann@gmlaw.com
 5
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 7
 8
 9                                SIGNATURE CERTIFICATION
            Pursuant to Civil L.R. 5-1(i)(3) of the Electronic Case Filing Administrative Policies
10   and Procedures Manual, I hereby certify that the content of this document is acceptable to
11   counsel for Defendant and that I have obtained authorization to affix his or her electronic
     signature to this document.
12
13                                                By:        /s/ Patrick H. Peluso
                                                            Patrick H. Peluso
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          Case 3:19-cv-05711-EMC Document 45 Filed 06/18/20 Page 7 of 7




 1                                   CERTIFICATE OF SERVICE
 2          The undersigned hereby certifies that a true and correct copy of the above papers was
 3   served upon counsel of record by filing such papers via the Court’s ECF system on June 18, 2020.
 4
                                                 /s/ Patrick H. Peluso
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